      Case 1:18-cv-02981-LAK-DCF Document 10 Filed 04/04/18 Page 1 of 2



Dale M. Cendali
Joshua L. Simmons
Megan L. McKeown
KIRKLAND & ELLIS LLP
601 Lexington Avenue
New York, New York 10022
Telephone: (212) 446-4800
Facsimile: (212) 446-4900
dale.cendali@kirkland.com
joshua.simmons@kirkland.com
megan.mckeown@kirkland.com

Attorneys for Plaintiff Take-Two Interactive Software, Inc.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


TAKE-TWO INTERACTIVE SOFTWARE, INC.,                    Case No. 1:18-cv-2981

                      Plaintiff,                                ECF Case

       - against -

ERIK CAMERON and CHRISTOPHER PEI,

                      Defendants.


             PLAINTIFF TAKE-TWO INTERACTIVE SOFTWARE, INC.’S
              NOTICE OF MOTION FOR PRELIMINARY INJUNCTION
       Case 1:18-cv-02981-LAK-DCF Document 10 Filed 04/04/18 Page 2 of 2



       PLEASE TAKE NOTICE that, upon the accompanying memorandum of law,

declarations, and exhibits submitted herewith, Plaintiff Take-Two Interactive Software, Inc.

(“Take-Two”) will move this Court at the Courthouse, 500 Pearl Street, New York, New York,

on a date and time to be determined by the Court, for an order granting a preliminary injunction

against Defendants Erik Cameron and Christopher Pei from directly or indirectly infringing

Take-Two’s copyrights, including but not limited to, (a) creating derivative works based upon

any portion of Take-Two’s video games, including Grand Theft Auto V; (b) producing or

distributing any computer programs that alter Take-Two’s games, including without limitation

Infamous; and (c) from participating or assisting in any such activity.



 Dated: New York, New York                           KIRKLAND & ELLIS LLP
        April 4, 2018

                                                       /s/ Dale M. Cendali
                                                     Dale M. Cendali
                                                     Joshua L. Simmons
                                                     Megan L. McKeown
                                                     KIRKLAND & ELLIS LLP
                                                     601 Lexington Avenue
                                                     New York, New York 10022
                                                     Telephone: (212) 446-4800
                                                     Facsimile: (212) 446-4900
                                                     dale.cendali@kirkland.com
                                                     joshua.simmons@kirkland.com
                                                     megan.mckeown@kirkland.com

                                                     Attorneys for Plaintiff
                                                     Take-Two Interactive Software, Inc.




                                                 2
